     Case 2:17-cr-00221-JAD-EJY           Document 64          Filed 10/25/17    Page 1 of 2




 1

 2

 3

 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7     UNITED STATES OF AMERICA,                                 Case No. 2:17-cr-0221-JAD-GWF
 8                                            Plaintiff,                        ORDER
                v.
 9                                                                (Mot Reopen Det – ECF No. 61)
       KEJON WARD,
10
                                            Defendant.
11

12           This matter is before the court on defendant Kejon Ward’s Motion to Reopen Detention
13    Hearing (ECF No. 61). The court has reviewed the motion and the government’s Response (ECF
14    No.62).
15           A detention hearing may be reopened only Aif the judicial officer finds that information
16    exists that was not known to the movant at the time of the hearing,@ and that the information Ahas
17    a material bearing on the issue whether there are conditions of release that will reasonably assure
18    the appearance of the person as required, and the safety of any other person and the community.@
19    18 U.S.C. ' 3142(f). As the court noted in United States v. Ward, 63 F. Supp. 2d 1203 (C.D. Cal.
20    1999), Acourts have interpreted this provision strictly, holding that hearings should not be reopened
21    if the evidence was available at the time of the initial hearing.@ Id. at 1206.
22           Counsel for Ward states a change of circumstance has occurred since his initial appearance.
23    At the initial appearance, Ward was being held on a state hold. Ward submitted to detention, but
24    reserved the right to reopen detention once the state hold was lifted. He was detained as both a
25    danger to the community and a risk of non-appearance. The state hold was discharged on
26    September 7, 2017, and Ward requests reopening detention to allow him to be released, like his
27    co-defendants, pending trial. The government opposes the motion arguing that the state parole
28    hold was lifted because Ward’s state sentence subsequently expired.
                                                           1
     Case 2:17-cr-00221-JAD-EJY          Document 64        Filed 10/25/17      Page 2 of 2




 1           Ward did not initially interview with Pretrial Services and submitted to detention hearing

 2    because of a state parole hold but requested leave to reopen if his circumstances changed. The

 3    court will grant his request to be interviewed with Pretrial Services and set the matter for hearing.

 4           IT IS ORDERED:

 5           1. Ward’s Motion to Reopen Detention (ECF No. 61) is GRANTED to the extent

 6               Pretrial Services shall interview Ward and prepare a report.

 7           2. A hearing is set for 10:30 a.m., November 2, 2017, in Courtroom 3B.

 8           DATED this 25th day of October, 2017.
 9

10
                                                            PEGGY A. LEEN
11                                                          UNITED STATES MAGISTRATE JUDGE
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       2
